

ORDER

PER CURIAM.
AND NOW, this 4th day of March, 2005, Rupert A. Hall, Jr., having been disbarred from the practice of law in the State of New Jersey by Order of the Supreme Court of New Jersey dated September 28, 2004; the said Rupert A. Hall, Jr., having been directed on December 22, 2004, to inform this Court of any claim he has that the imposition of the identical or comparable discipline in this Commonwealth would be unwarranted and the reasons therefor; and no response having been filed, it is
ORDERED that Rupert A. Hall, Jr., is disbarred from the practice of law in this *484Commonwealth, and he shall comply with all the provisions of Rule 217, Pa.R.D.E.
